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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )             8:05CR190
                     Plaintiff,                    )
                                                   )
       vs.                                         )              ORDER
                                                   )
DALE NORDBLAD and                                  )
TROY HANSEN,                                       )
                                                   )
                     Defendants.                   )
       This matter is before the court on the motion to continue trial by defendant Troy Hansen
(Hansen) (Filing No. 24). Hansen seeks a continuance of the trial currently scheduled for July
26, 2005. Defense counsel represents to the court that counsel for the government has no
objection to the extension. Hansen has submitted an affidavit in accordance with paragraph
9 of the progression order whereby Hansen consents to the motion and acknowledges he
understands the additional time may be excludable time for the purposes of the Speedy Trial
Act. Upon consideration, the motion will be granted and trial as to both defendants shall
be continued.
       IT IS ORDERED:
       1.     Hansen's motion to continue trial (Filing No. 24) is granted.
       2.     Trial of this matter is re-scheduled for August 29, 2005, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such motion
and outweigh the interests of the public and the defendants in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between July 7, 2005 and
August 29, 2005, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason that defendants' counsel require additional
time to adequately prepare the case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 7th day of July, 2005.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
